        Case: 1:13-cr-00515 Document #: 75 Filed: 10/09/18 Page 1 of 2 PageID #:687




                                                                                               DAN K. WEBB
                                                                                           Winston & Strawn LLP
                                                                                                  (312) 558-5856
                                                                                           DWebb@winston.com
October 9, 2018


FILED VIA ECF AND THUS SERVED ON ALL COUNSEL OF RECORD

The Honorable Rebecca R. Pallmeyer
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street, Chambers 2146
Chicago, IL 60604

Re:    Fourth Update on the Austrian Extradition Proceedings in U.S. v. Firtash, No. 13 CR 515

Dear Judge Pallmeyer:

I write to provide you with a fourth update on proceedings in Europe related to United States v. Dmitry
Firtash, Andras Knopp et al.

I last wrote on April 17, 2018 (in a letter filed via ECF, Docket No. 59), informing the Court of recent
updates related to the “XC and Others” case pending in the Court of Justice of the European Union,
which relates to the applicability of the EU Charter on Human Rights to extraordinary appeal proceedings
in the Austrian Supreme Court. At that point, I explained that the Court of Justice of the European Union
could issue its final written decision in the case of XC and Others any time after June 5, 2018. I further
explained that, while it was impossible to predict, the Austrian Supreme Court could then make a swift
decision on Mr. Firtash’s extradition case.

I’m writing again because the Court of Justice of the European Union has now publicly announced that
the “Date of delivery” of its opinion is October 24, 2018.
(http://curia.europa.eu/juris/fiche.jsf?oqp=&for=&mat=or&lgrec=de&jge=&td=%3BALL&jur=C%2CT
%2CF&id=C%3B234%3B17%3BRP%3B1%3BP%3B1%3BC2017%2F0234%2FP&dates=&pcs=Oor&l
g=&pro=&nat=or&cit=none%252CC%252CCJ%252CR%252C2008E%252C%252C%252C%252C%25
2C%252C%252C%252C%252C%252Ctrue%252Cfalse%252Cfalse&language=en&avg=&cid=20386.)

Consistent with my prior letters, Mr. Firtash’s Austrian lawyers believe that once the Court of Justice of
the European Union issues its decision, and the Austrian Supreme Court receives that ruling, the Austrian
Supreme Court could quickly decide Mr. Firtash’s case. While it remains impossible to predict with
certainty, Mr. Firtash’s lawyers believe that the Austrian Supreme Court will move quickly and Mr.
Firtash could face extradition in a short time frame following the decision by the Court of Justice.

I will continue to update the Court with any information I receive regarding Mr. Firtash’s extradition
proceedings in Austria.
       Case: 1:13-cr-00515 Document #: 75 Filed: 10/09/18 Page 2 of 2 PageID #:688


                                                                            October 9, 2018
                                                                                     Page 2




Winston & Strawn LLP
35 W. Wacker Drive
Chicago, Illinois 60614
DWebb@winston.com
Ph: (312) 558-5856
Fx: (312) 558-5700
